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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UBIQUITI NETWORKS, INC.,


                        Plaintiff,

v.
                                                   Civil Action No.: 1:18-cv-05369
CAMBIUM NETWORKS, INC.;
CAMBIUM NETWORKS, LTD.;                            JURY TRIAL DEMANDED
BLIP NETWORKS, LLC;
WINNCOM TECHNOLOGIES, INC.;
SAKID AHMED; and DMITRY MOISEEV,

                        Defendants.


                         DEFENDANTS’ NOTICE OF MOTION


        PLEASE TAKE NOTICE that on Wednesday, July 15, 2020 at 9:00 a.m., or as soon

thereafter as counsel may be heard, Defendants Cambium Networks, Inc. (“Cambium”) and

Cambium Networks, Ltd. (“Cambium UK”), Blip Networks, LLC, Winncom Technologies, Inc.,

Sakid Ahmed, and Dmitry Moiseev (collectively the “Defendants”) shall appear before the

Honorable Gary Feinerman or any judge sitting in his stead in Room 2125 of the Everett

McKinley Dirksen United States Courthouse, 219 South Dearborn Street, Chicago Illinois, and

shall present the Motion to File Under Seal Exhibits 2 and 5 in Support of its Opposition to

Plaintiff’s Motion to Compel De-Designation of Defendants’ Attorneys’ Eyes Only

Production and For Sanctions.




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Dated: June 4, 2020                         Respectfully submitted,

                                            BAKER BOTTS L.L.P.

                                                /s/ G. Hopkins Guy, III
                                               One of their attorneys

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                                            Networks, Inc. et al.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 4, 2020, I electronically filed the foregoing NOTICE OF
MOTION with the Clerk of the Court using the CM/ECF system. I certify that all participants in
the case are registered CM/ECF users.



                                           /s/ G. Hopkins Guy, III




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